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                             UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

IN RE:                                                      §
                                                            §
PAYSON PETROLEUM 3 WELL, L.P.,                              §              Case No. 17-40179
                                                            §              Chapter 7
                                                            §
                                                            §
         DEBTOR.                                            §


JASON R. SEARCY, CHAPTER 11                                 §
TRUSTEE FOR PAYSON                                          §
PETROLEUM, INC.,                                            §
                                                            §
      Plaintiff,                                            §
                                                            §
vs.                                                         §              Adversary No. 18-04074
                                                            §
ACME ENERGY COMPANY, LLC,                                   §
ET AL.,                                                     §
                                                            §
      Defendants.                                           §

                         PLAINTIFF’S NOTICE OF DISMISSAL OF
                      DEFENDANT BESCO FAMILY INVESTMENTS LLC

         Plaintiff Jason R. Searcy, Chapter 7 Trustee for Payson Petroleum, Inc. (“Plaintiff”) files

his Notice of Dismissal of Defendant, BESCO Family Investments LLC, under Federal Rule of

Civil Procedure 41(a) made applicable by Federal Rule of Bankruptcy Procedure 7041.

         1.        Plaintiff is Jason R. Searcy, Chapter 7 Trustee for Payson Petroleum, Inc.

         2.        On September 12, 2018, Plaintiff sued 109 defendants in the above-captioned

adversary proceeding, including Defendant, BESCO Family Investments LLC.

         3.        Defendant has been served with process and has not served an answer or a motion

for summary judgment.

         4.        This case is not a class action under Federal Rule of Civil Procedure 23, a derivative

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action under Rule 23.1, or an action related to an unincorporated association under Rule 23.2.

       5.       A receiver has not been appointed in this case.

       6.       This case is not governed by any federal statute that requires a court order for

dismissal of the case.

       7.       Plaintiff has not previously dismissed any federal- or state-court suit based on or

including the same claims as those presented in this case.

       8.       Only the Defendant, BESCO Family Investments LLC, is dismissed from the

above-captioned adversary proceeding.

       9.       This dismissal is with prejudice only as to Defendant, BESCO Family Investments

LLC.

                                                        Respectfully submitted,

                                                        SNOW SPENCE GREEN LLP

                                                        By:/s/ Blake Hamm
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                                                        Attorneys for Jason R. Searcy,
                                                        Trustee for Payson Petroleum, Inc.




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                                           CERTIFICATE OF SERVICE

        I, the undersigned, certify that on the 21st day of November 2018, a true and correct copy
of the above and foregoing was served upon all parties via the Court’s electronic case filing system
(ECF) and by first class mail, postage prepaid to Defendant as follows:

Defendant
BESCO Family Investments LLC
c/o John L. Robinson
Law Offices of John L. Robinson
2300 Michigan Court, Suite B
Arlington, TX 76016




                                                            /s/ Blake Hamm
                                                            Blake Hamm




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